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 12
      Attorneys for Plaintiff Yahaira Camacho,
 13 individually and on behalf of others similarly situated

 14
                           UNITED STATES DISTRICT COURT
 15

 16
            CENTRAL DISTRICT OF CALIFORNIA- WESTERN DIVISION

 17 YAHAIRA CAMACHO, individually
                                              )   CASE NO. EDCV14-01097 PA (SSx)
                                              )
      and on behalf of herself and others     )
 18 similarly situated,                       )   CLASS ACTION
 19
                                              )
                                              )   STIPULATION AND JOINT
                  Plaintiff,                  )
 20                                               MOTION FOR AN ORDER
                                              )   DISMISSING CLASS ACTION
 21         vs.                               )   COMPLAINT
                                              )
 22 ESA MANAGEMENT, LLC, a
                                              )
                                              )
 23 Delaware Corporation, and DOES 1
                                              )
                                              )
      through 100, inclusive,                 )
 24                                           )
 25
                                              )   Complaint filed:   May 1, 2014
                                              )   Trial date:        None set
                  Defendants.                 )
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      STIPULATION AND JOINT MOTION FOR AN ORDER           CASE NO. EDCV14-01097 PA (SSx)
      DISMISSING ACTION
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  1        Plaintiff Yahaira Camacho (“Plaintiff”) and Defendant ESA Management,
  2 LLC (“Defendant”) (Plaintiff and Defendant are jointly referred to herein as the

  3 “Parties”), through their respective counsel of record, bring this Stipulation and

  4 Joint Motion and request the Court issued an Order of Dismissal of the entire action

  5 and Complaint.

  6        During the course of the litigation of this case, Plaintiff claimed that as part of
  7 the employment application process, Defendant obtained a consumer report for

  8 prospective employees and failed to provide an appropriate disclosure in writing that

  9 a consumer report may be obtained for employment purposes and failed to obtain

 10 from Plaintiff and putative class members a valid, written authorization prior to

 11 obtaining a consumer report as required under the FCRA. Plaintiff alleged that she

 12 did not sign an authorization under FCRA, and the only document that Plaintiff

 13 could locate in her file that could conceivably be construed as a FRCA authorization

 14 did not comply with the requirements of FCRA.

 15        ESA claimed that it had properly provided disclosures and obtained
 16 authorizations. ESA produced its policies related to making disclosures and

 17 obtaining authorization from applicants and provided exemplar copies of those

 18 disclosures. Defendant was not able to locate or determine whether such a disclosure

 19 had been provided to plaintiff and whether authorization was obtained by Plaintiff.
 20 Because Defendant produced its policy that it maintained appropriate disclosure and

 21 authorization forms, Plaintiff sought a sampling of records from Defendant to show

 22 that it in fact complied with its written policies.

 23        The process of gathering the information was time-consuming, and Defendant
 24 was unable to produce such documents prior to the date upon which Plaintiff was

 25 required to file her Motion for Class Certification. Thus, Plaintiff filed her Motion

 26 on September 30, 2014. In its opposition, Defendant provided the sampling of
 27 signed disclosure and authorization forms, but was still unable to locate a signed

 28 authorization for Plaintiff.
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      STIPULATION AND JOINT MOTION FOR AN ORDER             CASE NO. EDCV14-01097 PA (SSx)
      DISMISSING ACTION
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  1        After reviewing the policies related to the FCRA disclosure and authorization
  2 form in conjunction with a sampling of more than 60 other ESA employees’ (Dkt.

  3 No. 28, p. 10-12 of 22) authorization forms from California and throughout the

  4 United States, Plaintiff agreed to dismiss the class-wide allegations without

  5 prejudice because it appeared that the company maintained a policy to provide

  6 appropriate disclosures and obtain authorization under FCRA and did in fact follow

  7 that policy.

  8        Because Defendant was not able to show that it complied with FCRA as to
  9 the Plaintiff, the Parties agreed to an individual settlement for Plaintiff of $1,000 in

 10 exchange for a general release by Ms. Camacho and costs incurred in the amount of

 11 $500. No class claims were compromised and the claims of putative class members

 12 are to be dismissed without prejudice.

 13        The Parties seek dismissal as follows:
 14        1.      The individual claims of Plaintiff against Defendant shall be dismissed
 15 in their entirety with prejudice pursuant to Fed. R. Civ. P. 41(a)(1) and (2).

 16        2.      The class claims against Defendant herein shall be dismissed in their
 17 entirety without prejudice pursuant to Fed. R. Civ. P. 41(a)(1) and (2). A ruling has

 18 not been made by this Court regarding Plaintiff’s pending Motion for Class

 19 Certification, a class was not certified, and no notice was sent to a prospective class.
 20        3.      Except as otherwise agreed upon, each party shall bear his/her/its own
 21 costs and attorneys’ fees.

 22

 23 Dated: November 4, 2014           COHELAN KHOURY & SINGER
                                      LAW OFFICES OF SAHAG MAJARIAN II
 24

 25                                   By: s/Kimberly D. Neilson
                                            Michael D. Singer, Esq.
 26
                                            Kimberly D. Neilson, Esq.
 27                                   Attorneys for Plaintiff YAHAIRA CAMACHO and
 28
                                      the putative class
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      STIPULATION AND JOINT MOTION FOR AN ORDER             CASE NO. EDCV14-01097 PA (SSx)
      DISMISSING ACTION
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  1

  2 Dated: November 4, 2014       LITTLER MENDELSON
  3                               By: s/ Kai-Ching Cha
  4                                      Lindbergh Porter, Esq.
                                         Kai-Ching Cha, Esq.
  5                               Attorneys for Defendant ESA
  6                               MANAGEMENT, LLC
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      STIPULATION AND JOINT MOTION FOR AN ORDER       CASE NO. EDCV14-01097 PA (SSx)
      DISMISSING ACTION
